Case 4:23-cv-04405 Document 34 Filed on 07/25/24 in TXSD Page 1 of 3

Gnited States Court of Appeals

United States Courts

for the F itth Circutt Southern District of Texas

A True Copy FILED
Certified order issued Jul 25, 2024 July 25, 2024

J W. C Ge No. 24-20250 Nathan Ochsner, Clerk of Court
Clerk, U.S. Court of Appeals, Fifth Circuit

RODNEY UNDERWOOD,
Plaintiff— Appellant,
versus
COMMUNITY LOAN SERVICING, L.L.C.,

Defendant— Appellee.

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 4:23-CV-4405

CLERK’S OFFICE:

Under 5TH Cir. R. 42.3, the appeal is dismissed as of July 25, 2024,
for want of prosecution. The appellant failed to timely file a transcript order
form.
Case 4:23-cv-04405 Document 34 Filed on 07/25/24 in TXSD Page 2 of 3

No. 24-20250

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

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By:
Melissa V. Mattingly, Deputy Clerk

ENTERED AT THE DIRECTION OF THE COURT
Case 4:23-cv-04405 Document 34 Filed on 07/25/24 in TXSD Page 3 of 3

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 5. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

July 25, 2024

Mr. Nathan Ochsner

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 24-20250 Underwood v. Community Loan Svc
USDC No. 4:23-CV-4405

Dear Mr. Ochsner,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk
if Uinya Masingly

By:

Melissa V. Mattingly, Deputy Clerk.
504-310-7719

cc w/encl:
Mr. Marc Daniel Cabrera
Ms. Elizabeth Hayes
Mr. Brendan Tan Herbert
Mr. Rodney Underwood
